784 F.2d 1407
    Kathryn LOWE, Plaintiff-Appellant,v.CITY OF MONROVIA, Paul Stuart, Robert Bartlett, MonroviaCity Council, John Nobrega, Mary Wilcox, EdZoolalian, Robert Ovrom and BettyLogans, Defendants-Appellees.
    No. 84-5960.
    United States Court of Appeals,Ninth Circuit.
    March 18, 1986.
    
      Before PREGERSON and REINHARDT, Circuit Judges.
    
    ORDER
    
      1
      The majority opinion filed in this case on October 30, 1985, as amended by the orders of December 26, 1985 and January 21, 1986, 775 F.2d 998, is further amended as follows:
    
    
      2
      Add the following sentence to the end of the paragraph on page 1009 which ends with "... articulated reason for its employment decision.":
    
    
      3
      The principles described above do not prevent the summary disposition of meritless suits but simply ensure that when a genuine issue of material fact exists a civil rights litigant will not be denied a trial on the merits.
    
    